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 8
 9 Attorneys for Plaintiff
   VICTOR DALFIO
10
                             UNITED STATES DISTRICT COURT
11
                        SOUTHERN DISTRICT OF CALIFORNIA
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13
     VICTOR DALFIO, an individual,            CASE NO.: 3:21-cv-00646-W-BLM
14
15              Plaintiff,                    JOINT NOTICE OF SETTLEMENT
16        vs.
17                                            Courtroom:        3C
   WALMART, INC., a Delaware                  District Judge: Thomas J. Whelan
18 corporation; Does 1-10,                    Magistrate Judge: Barbara Lynn Major
19                                            Complaint Filed: April 14, 2021
                Defendants.                   Trial Date:       Not set
20
21 WALMART INC.
22        Third-Party Plaintiff,
23 v.
24 CLPF – CLAIREMONT MESA, L.P.
25
26              Third-Party Defendant.

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                                 JOINT NOTICE OF SETTLEMENT
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 1         The Parties hereby jointly notify the court that a confidential settlement has been
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     reached in the above-captioned case and the Parties would like to avoid any additional
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     expense, and further the interests of judicial economy.
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 5          The Parties, therefore, apply to this Honorable Court to vacate all currently set
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     dates with the expectation that a Joint Stipulation for Dismissal with prejudice as to all
 7
 8 parties will be filed within 60 days. The Parties further request that the Court schedule
 9 a Status Conference/OSC Hearing approximately 60 days out at which time the Parties,
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     by and through their attorneys of record shall show cause why this case has not been
11
12 dismissed.
13
14
     DATED: July 19, 2021                  THE LAW OFFICE OF HAKIMI &
15
                                           SHAHRIARI
16
17
                                           By:    /s/Laura Steven
18                                               Laura Steven, Esq.
19                                               Attorneys for Plaintiff, Victor Dalfio
20
     DATED: July 19, 2021                  PETTIT KOHN INGRASSIA LUTZ &
21                                         DOLIN PC
22
23                                         By:     /s/ Christine Y. Dixon
24                                               Christine Y. Dixon, Esq.
                                                 Attorneys for Defendant, Walmart Inc.
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                                    JOINT NOTICE OF SETTLEMENT
 Case 3:21-cv-00646-W-BLM Document 20 Filed 07/19/21 PageID.109 Page 3 of 3




1
                                SIGNATURE ATTESTATION
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           I hereby attest that all signatories listed above, on whose behalf this stipulation
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     is submitted, concur in the filing's content and have authorized the filing.
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5
                                               Laura Steven
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7
                                                      /s/ Laura Steven
8                                               By: Laura Steven
9                                               Attorney for Plaintiff Victor Dalfio
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                                   JOINT NOTICE OF SETTLEMENT
